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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

THANG HONG LUU, CHIN BA NGO,          §
HUNG VAN NGUYEN, NO HAI LE,           §
HAI THANH PHAN, TUYEN VAN             §
VU, HOP DUC TON, GIANG DUC            §
TRAN, GIANGSY NGHIEM, NHAM            §
VAN HO, HUYNH KHAC BUI, SY            §
DUNG   NGUYEN,    DUC     MINH        §
NGUYEN, and JOHN DOES 1-43,           §
                                      §
                                      §
                                      §   CIVIL ACTION NO. 3:11-cv-00182
                    Plaintiffs,       §
                                      §
vs.                                   §
                                      §
INTERNATIONAL INVESTMENT              §
                                      §
TRADE AND SERVICE GROUP               §
A/K/A INTERSERCO, et al.,             §
                                      §
                    Defendants.       §


             DEFENDANT INTERSERCO’S REPLY IN SUPPORT OF ITS
                          MOTION TO DISMISS

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         Plaintiffs’ Response1 completely fails to address critical arguments in

Interserco’s Motion to Dismiss [Dkt. No. 30] (“Motion”). First, Plaintiffs omit any

defense of their improper 13th Amendment claim. Second, Plaintiffs fail to identify

any alleged facts supporting the conclusion that Interserco knew when it allegedly

recruited Plaintiffs what would later occur. The Complaint therefore falls far short

of the requirement that fraud be pleaded with particularity. This is all the more

striking since Plaintiffs rely on the inadequately alleged fraud as the basis for their

conspiracy claim and their forced labor claims under the ATS and TVPRA.2

Finally, Plaintiffs half-hearted attempt to defend its assertion of vicarious liability

still fails to provide any support for the asserted legal theories.

                                                ARGUMENT

I.  The Fraud Claim Must Be Dismissed Because Plaintiffs Do Not and
Cannot Identify Any Allegations to Support Critical Elements of the Claim.
         The Complaint completely fails to identify the person who made the

allegedly fraudulent misrepresentations or the alleged reason why the statements

were false when made. Motion [Dkt. No. 30] at 28-30. Similarly, Plaintiffs’ fraud

claim fails because the Complaint alleges no factual context supporting the


1
  As used herein, “Complaint” refers to Plaintiffs’ First Amended Original [sic] Complaint [Dkt. No. 29] and
“Response” refers to Plaintiffs’ Response in Opposition to Interserco’s Motion to Dismiss Under Rule 12(b)(6).
2
  The ATS or Alien Tort Statute refers to 28 U.S.C. § 1350. The TVPRA or Trafficking Victims Protection
Reauthorization Act refers, as relevant here, to Plaintiffs claims for civil remedy under 18 U.S.C. § 1595(a) for the
purported violation of 18 U.S.C. § 1590.

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conclusion that the person making the alleged misstatements knew they were false

at the time they were made. Id.; see Iqbal v. Ashcroft, 556 U.S. 662, 686 (2009)

(requiring that states of mind be pleaded with facts, not conclusions). Plaintiffs

make no effort to refute either of these arguments.

       Instead, Plaintiffs cite a single out-of-circuit case, apparently attempting to

show that alleging Interserco made misstatements is, by itself, sufficient. Response

[Dkt. No. 34] at 15. The Fifth Circuit, however, “interprets Rule 9(b) strictly,

requiring the plaintiff to ‘specify the statements contended to be fraudulent,

identify the speaker, state when and where the statements were made, and explain

why the statements were fraudulent.’” Flaherty & Crumrine Preferred Income

Fund Inc. v. TXU Corp., 565 F.3d 200, 207 (5th Cir. 2009) (quoting Williams v.

WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997)).

       Even the case Plaintiffs cite in the Response does not support their

argument. In Moore v. Kayport Package Exp., Inc., 885 F.2d 531 (9th Cir. 1989),

the    Court   was   not   persuaded    by   the   argument    that   “pleading   the

misrepresentations, rather than the defendants’ conduct, with particularity” was

sufficient, id. at 540, and it held that the asserted fraud was inadequately alleged.

Id. at 541. Plaintiffs here advance much the same argument by merely reciting the

alleged misrepresentations in the Complaint. Response [Dkt. No. 34] at 15-16.

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Fifth Circuit law requires substantially more details than this, and the Complaint

fails to provide them.

II.  Plaintiffs’ Failure to Allege Fraud with Particularity Deprives All Other
Claims of Any Support from the Defective Fraud Allegations.
      Plaintiffs’ failure to justify their fatally deficient fraud allegations not only

dooms their fraud claim, it also dooms Plaintiffs’ efforts to bolster their other

claims with the same allegations. Rule 9(b)’s requirement for particularity when

“alleging fraud” is not, by its own terms, limited to fraud claims. Instead, when any

claim for relief relies on allegations of fraud, those allegations must satisfy the

requirements Rule 9(b). See, e.g., Castillo v. First City Bancorporation of Texas,

43 F.3d 953, 961 (5th Cir. 1994) (applying Rule 9(b) to claims for conspiracy to

commit fraud); In re Enron Corp. Secs., Derivative & ERISA Litig., 540 F. Supp.

2d 800, 827 (S.D. Tex. 2007) (imposing the Rule 9(b) standard on a negligent

misrepresentation claim where “Plaintiffs have relied on the same factual

representations for their negligent misrepresentation and fraud claims, and they

have made no attempt here to distinguish the two causes of action”). Under Fifth

Circuit law, this Court should “disregard averments of fraud not meeting Rule

9(b)’s standard” when determining the sufficiency of other claims. Lone Star

Ladies Inv. Club v. Schlotzsky’s, Inc., 238 F.3d 363, 368 (5th Cir. 2001).



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      A.     Conspiracy
      Plaintiffs now assert that their conspiracy claim is a claim for conspiracy

between Coast to Coast Resources, Inc. and Interserco, and they base this assertion

solely on the allegedly fraudulent misstatements. Response [Dkt. No. 34] at 7-8.

This belated attempt to recast the conspiracy still fails because the Complaint omits

any facts showing that Interserco and Coast to Coast Resources, Inc. agreed to

pursue any unlawful purpose or to pursue any lawful purpose by unlawful means,

which is a required element of conspiracy. ERI Consulting Engineers, Inc. v.

Swinnea, 318 S.W.3d 867, 975 (Tex. 2010). The purported scheme of “luring and

transporting labor from Vietnam to the U.S.,” id. at 8, is not unlawful. And the

only unlawful acts Plaintiffs point to in support of this purported conspiracy are the

inadequately pleaded fraud allegations. Id. at 7-8; Complaint [Dkt. No. 29] at ¶ 38.

Since these allegations must be set aside, Lone Star Ladies Inv. Club, 238 F.3d at

368, nothing remains to support the assertion of a conspiracy.

      Also, Plaintiffs make no effort to salvage their conspiracy claim as originally

alleged. In the Complaint, Plaintiffs assert that a conspiracy existed between the

Defendants. Complaint [Dkt. No. 29] at ¶ 37. Plaintiffs do not defend this claim,

and, for all the reasons presented in Interserco’s Motion, it should be dismissed.




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      B.     Alien Tort Statute
      Despite urging this Court to rely on the international norm from Roe v.

Bridgestone, Plaintiffs fail to identify any adequately alleged conduct that violates

that norm. In part, this is because Plaintiffs rely on their failed fraud allegations to

support their ATS claim. See Response [Dkt. No. 34] at 10-11. Equally

problematic for Plaintiffs is the fact that all the allegations of misconduct show that

it was Coast to Coast Resources, Inc. and ILP Agency, LLC (the “Employers”)

who committed the acts complained of, and the Complaint fails to support any

theory on which to attribute those acts to Interserco.

      Contrary to Plaintiffs’ assertions in the Response, the Complaint does not

support the conclusion that Plaintiffs’ labor was obtained without consent.

Plaintiffs were not “deceived . . . about the types and terms of work.” Id. at 10.

Plaintiffs allege that they accepted welding jobs at a base wage of $15.00 per hour,

Complaint [Dkt. No. 29] at ¶¶ 23, 38, and never allege the work or pay was other

than what was promised. Indeed, the only alleged disparities between pledge and

promise relate to the quality of Plaintiffs’ housing, id. at ¶ 24, and the duration of

their employment. Id. at ¶ 26. Similarly, the Complaint does not support

allegations that Plaintiffs were “induced” to take on debt because the Complaint

does not meet the Rule 9(b) standard for alleging fraud. See Lone Star Ladies Inv.


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Club, 238 F.3d at 368 (directing courts to disregard inadequately alleged fraud

when assessing non-fraud claims based on the inadequate allegations). Because the

debt was freely undertaken, any fear of the consequences from doing so cannot be

classified as “psychological compulsion” on the part of Interserco. Plaintiffs

therefore fail to allege any facts to support their denial that they freely entered into

their agreement with Interserco.

      There are also no allegations that Interserco took any actions directed toward

Plaintiffs after Plaintiffs arrived in the U.S. and began to work. For this reason, the

purported penalties with which Plaintiffs say they were menaced are not

attributable to Interserco. Plaintiffs tried and failed to allege a conspiracy involving

Interserco. Plaintiffs tried and failed to allege that the Employers were Interserco’s

agents. The Complaint therefore fails to allege any facts to support the “menace of

any penalty” prong of the Bridgestone standard in their ATS claim against

Interserco. Because Plaintiffs failed to adequately allege facts meeting either prong

of the identified international norm of forced labor, Plaintiffs ATS claim must be

dismissed.




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         C.       TVPRA3
         As addressed in Interserco’s Motion, Plaintiffs claim under 18 U.S.C. § 1590

includes a required element of knowledge, and the Complaint fails to allege any

facts supporting a conclusion that Interserco had knowledge of the conditions the

Plaintiffs would face in the United States. See Motion [Dkt. No. 30] at 26-28.

Plaintiffs apparently unable to address this argument, do not even acknowledge it

in their Response. For this reason alone, Interserco’s Motion should be granted.

         Furthermore, Plaintiffs do not argue that any allegations in the Complaint

support their TVPRA claim other than the defective fraud allegations. See

Response [Dkt. No. 34] at 13-14. Since these allegations must be disregarded, see

Lone Star Ladies Inv. Club, 238 F.3d at 368, the TVPRA claim fails for this

reason, as well, and should be dismissed.

III. Plaintiffs Fail to Identify Any Support for Their Assertion of Vicarious
Liability.
         Plaintiffs’ passing response in support of their numerous vicarious liability

theories is patently insufficient to preserve claims that rely on those theories. First,

the Complaint alleges that several individuals are employees of Interserco, but

never alleges any acts committed by those individuals. See generally Complaint


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  Contrary to Plaintiffs’ Response, Interserco never asserted that the TVPRA depended on physical coercion. See
Motion [Dkt. No. 30] at 21 (“The threatened serious harm need not be physical harm . . ..”). Plaintiffs’ arguments on
this point therefore need not be addressed.

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[Dkt. No. 29]. Plaintiffs are therefore incorrect when they state that they have

“identified actors who are employees of Interserco.” Response [Dkt. No. 34] at 8

(citing Complaint [Dkt. No. 29] at ¶¶ 23, 41) (emphasis added).

      Second, the only benefit to Interserco that Plaintiffs identify—the revenue

from Plaintiffs’ alleged payment—has no bearing on vicarious liability. As an

initial matter, a retained benefit can support a ratification theory, see Folmar v.

Terra Renewal, LLC, No. 4:09-cv-3647, 2011 U.S. Dist. LEXIS 14840, *17 (S.D.

Tex. Feb. 14, 2011) (“Ratification may occur when a principal, though he had no

knowledge originally of the unauthorized act of his agent, retains the benefits of

the transaction after acquiring full knowledge.”), but Plaintiffs offer no defense of

the other asserted theories. And, as explained in the Motion, the fees (and any other

property) were allegedly paid to Interserco before any alleged conduct the

Employers. Since that payment occurred before the “transaction” (or conduct) at

issue—namely the Employers’ alleged mistreatment of Plaintiffs—the payment is

not a benefit derived from that conduct.

      Not only is Plaintiffs’ “retained benefit” theory unsupported by law, it would

lead to irrational results in other cases if it were applied as Plaintiffs urge here.

Interserco sits in the position of a broker or middleman in that it brings together a

fee-paying party with a third-party contractor who then enter a contractual

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relationship without Interserco. By urging this Court to find that ratification applies

here, Plaintiffs, without citing any support, request this Court to hold that any time

broker a retains his fees, that broker is ratifying all subsequent torts committed

against a fee-paying party by a third-party contractor in a similar scenario.

Plaintiffs’ provide no authority for such a broad expansion of liability under the

ratification doctrine.

IV.     Plaintiffs’ Newly Introduced Material Is Improper, Irrelevant, or Both.
        Instead of arguing in support of the Complaint as filed, Plaintiffs bombard

the Court with extensive quotes to irrelevant public documents and factual

assertions beyond the Complaint that are improperly raised for the first time in

Plaintiffs’ Response. Even if these extraneous facts are considered, however, the

Complaint still fails to state a viable claim for relief.

        A.    Judicial Notice of the State Department Reports Is Irrelevant.
        For the Court to take judicial notice, the noticed fact must be “not subject to

reasonable dispute because it: (1) is generally known within the trial court’s

territorial jurisdiction; or (2) can be accurately and readily determined from

sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).

Neither the purported ICE investigation nor the Plaintiffs T-Visas have been shown




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to meet these criteria. They are clearly not generally known, and no source beyond

Plaintiffs’ own word has been presented.

      Moreover, even though judicial notice of the referenced State Department

reports on human trafficking is theoretically appropriate for the content of the

reports, it is not appropriate to extend judicial notice to the truth of the matter

asserted in the report. Judicial notice is often taken of public documents, such as

disclosures filed with the Securities and Exchange Commission. E.g., Lovelace v.

Software Spectrum, Inc., 78 F.3d 1015, 1018 (5th Cir. 1996). But judicial notice of

such documents is not permissible “to prove the truth of the documents’ contents.”

Id. Although Lovelace involved judicial notice of SEC filings, the same logic

applies here. Interserco does not dispute that the State Department made the

observations and statements in the cited reports. Fed. R. Evid. 201(b). But

Plaintiffs have not and cannot demonstrate that the contents themselves have been

“accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” Fed. R. Evid. 201(b)(2).

      Second, even taken as true, the content of the reports is too general to have

any bearing on the adequacy of the pleadings. The mere fact that there are

instances of labor trafficking from Vietnam cannot replace factual allegations

supporting Plaintiffs claims that Interserco committed any unlawful act directed at

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any of the Plaintiffs. Nowhere do the reports present facts indicating that

trafficking is so pervasive in the Vietnamese labor export industry that merely

engaging in labor export should be presumed to be labor trafficking.

         B.   Plaintiffs Improperly Assert New Facts in the Response, and
         These New Facts Should Be Disregarded.
         Plaintiffs’ Response also includes numerous factual assertions not alleged in

the Complaint. See Response [Dkt. No. 34] at 1 (asserting ICE is investigating and

Plaintiffs received T-Visas), 4 (asserting that Vietnamese law imprisons delinquent

debtors), 5, 13 (asserting that the U.S. Employers confiscated and kept Plaintiffs’

passports),4 10 (Plaintiffs felt threatened by the possibility of debtor’s prison),5 11

(asserting Plaintiffs were threatened with deportation and were “constantly

monitored”).

         Plaintiffs newly alleged facts are improperly asserted in their Response. “In

considering a 12(b)(6) motion, the court should only consider the factual

allegations contained in the original complaint. New facts submitted in response to

a motion to dismiss to defeat the motion are not incorporated into the original


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  Plaintiffs contradict two clear statements that the “co-conspirators” (i.e., the Employers) confiscated Plaintiffs’
passports after Plaintiffs arrived in the United States by asserting that “Interserco and/or the other Defendants
confiscated the deeds to Plaintiffs’ home and travel documents.” Id. at 10. This is both vague and inconsistent with
the rest of the Response. It also makes little sense to suggest that Plaintiffs’ passports were confiscated before they
travelled to the United States. Accordingly, this assertion appears merely to incorporate Plaintiffs’ conclusory
allegations of conspiracy and vicarious liability by attributing the Employers’ acts to Interserco.
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  Plaintiffs appear to base the “threat” of imprisonment on the fact that it is a penalty allowed under Vietnamese law
for defaulting on a debt, so it is unclear whether Plaintiffs are suggesting that anyone actually threatened them.

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pleadings.” Coach, Inc. v. Angela’s Boutique, No. 4:10-cv-1108, 2011 U.S. Dist.

LEXIS 65876, at *6 (S.D. Tex. June 15, 2011) (citing Schneider v. Cal. Dep’t of

Corrections, 151 F.3d 1194, 1197 n.1 (9th Cir. 1998)). To the extent the Court

considers these new facts at all, such consideration should be limited to

determining whether the requested leave to amend would be futile. See, e.g.,

Schneider, 151 F.3d at 1197 & n.1.

      Even if the Court chooses to consider them, the newly asserted facts are

insufficient to save Plaintiffs’ claims. Plaintiffs still fail to address the defects in

both their claims and their theories of vicarious liability. Since the fraud claim

fails, so too does the purported conspiracy to commit fraud and any theory that

Plaintiffs were lured into forced labor by false promises. Similarly, Interserco’s

lack of knowledge about the Employers’ plans (if plans they had), renders

Plaintiffs TVPRA claim invalid. Finally, any claim based on vicarious liability for

the conduct of the Employers must fail because Plaintiffs have alleged no facts to

justify holding Interserco liable for those acts.

V.   Plaintiffs Should Be Denied Leave to Amend Because They Have Shown
Any Such Amendment Would Be Futile.
      Despite adding a panoply of new facts, Plaintiffs still fail to adequately state

a viable claim against Interserco. Were they able to do so, Plaintiffs would have

asserted the facts needed to cure the fatal deficiencies in the Complaint. In light of
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this, Interserco respectfully requests that this Court deny Plaintiffs leave to amend

their Complaint.

      In the event the Court permits Plaintiffs to replead, however, Interserco

respectfully requests that Plaintiffs be required to identify the actors responsible for

each act forming a part of the conduct on which they base their claims. As the

present briefing demonstrates, one of the key issues in this case is whether

Interserco (and the other Defendants) are responsible for conduct by the Employers

in the United States against whom Plaintiffs have already successfully litigated.

For example, in the Response, Plaintiffs assert twice that the Employers

confiscated Plaintiffs’ passports once Plaintiffs arrived in the United States.

Response [Dkt. No. 34] at 5, 13. But Plaintiffs also suggest that either Interserco or

some other Defendant took their passports, presumably while Plaintiffs were still

in Vietnam. Id. at 10. Not only do Plaintiffs make contradictory allegations such as

these, they repeatedly omit to identify the actor when alleging the various

mistreatments they received. See, e.g., Complaint [Dkt. No. 29] at ¶¶ 24 (omitting

who made Plaintiffs live in “dilapidated” apartments), 25 (omitting who allegedly

threatened Plaintiffs), 26 (omitting who told Plaintiffs “their employment was

being terminated”). If Plaintiffs assert that Interserco should be responsible for the

actions of unrelated third-parties, Plaintiffs should identify the actors.

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                                 CONCLUSION

      Plaintiffs do nothing to address the reasons justifying Interserco’s Motion to

Dismiss. Plaintiffs do not and cannot point to any allegations that Interserco was

aware of bad intent on the part of the Employers as Plaintiffs, and Plaintiffs have

alleged no basis for bringing claims against Interserco for the alleged wrongs of

Plaintiffs’ Employers. For this, as well as all the reasons above and in Interserco’s

Motion, all claims should be dismissed.




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DATED: December 24, 2012                Respectfully submitted,

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                        CERTIFICATE OF SERVICE

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